Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 1 of 58 PageID: 1872



 LOVELL STEWART HALEBIAN LLP
 John Halebian
 jhalebian@lshllp.com
 Adam C. Mayes
 amayes@lshllp.com
 Midtown Office
 317 Madison Avenue, 21st Floor
 New York, NY 10017
 Tel: (212) 500-5010
 Fax: (212) 208-6806

 JAMES V. BASHIAN
 jbashian@bashianlaw.com
 LAW OFFICES OF JAMES V. BASHIAN, P.C.
 70 Adams Street, 4th Floor
 Hoboken, NJ 07030
 Tel: (973) 227-6330
 Fax: (973) 488-3330

 Attorneys for Plaintiffs
 [Additional Attorneys follow signature page]

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

 JEFFREY BOUDER, JOHN COSTA,                        Civil Action No. 06-04359 (DMC) (MF)
 CHRISTINE MUSTHALER, STEVEN SONG,
 DAVID UCHANSKY, ALAN SCOTT RUDO,                   SECOND CONSOLIDATED
 RYAN HOLMES, TIMOTHY MUNSON, PETER                 AMENDED COLLECTIVE AND
 SHAW, KELLY GALLANT, GERARD                        CLASS ACTION COMPLAINT
 ROUSSEAU, CHRISTOPHER BRIGGS,
 JOSEPH GAWRON, SANDRA KING, JULIE
 SULLIVAN, MICHELE OTTEN, VINCENT                   Jury Trial Demanded
 CAMISSA, EDWARD LENNON, GORAN
 OYDANICH, ROBERT PAVENTI, ALEX
 TEJADA, JULIA STALLA, MICHAEL TODD
 HINCHLIFFE, JASON PERSINGER and TRACY
 CHOSA, on behalf of themselves, the general
 public, and all others similarly situated,         Electronically Filed

                            Plaintiffs,

               vs.

 PRUDENTIAL FINANCIAL, INC.,
 PRUDENTIAL INSURANCE CO. OF
 AMERICA, DOES 1-50 (said names being


                                                1
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 2 of 58 PageID: 1873



 fictitious individuals), and ABC
 CORPORATIONS 1-50 (said names
 being fictitious companies, partnerships,
 joint ventures and/or corporations),

                               Defendants.

 JIM WANG, individually and on behalf of all
 others similarly situated,

                              Plaintiff,

                vs.

 PRUDENTIAL FINANCIAL, INC.,
 PRUDENTIAL INSURANCE CO. OF
 AMERICA, DOES,

                                     Defendants.



        1.      Plaintiffs, Jeffrey Bouder, who resides at 17 South High Street, 7 Newville PA

 17241; Jim Wang, who resides at 836 E. Santa Ynez Street, San Gabriel, CA 91775; John Costa,

 who resides at 9123 North Arena Pacifica Drive, Long Beach, CA 90803; Christine Musthaler,

 who resides at 27881 La Paz Road, Laguna Niguel, CA 92677; Steven Song, who resides at

 1717 East Birch Street, Apt. # II 202, Brea, CA 92821; David Uchansky, who resides at 1355

 North Sierra Bonita Avenue, #202, Hollywood, CA 90046; Alan Scott Rudo, who resides at

 HCR 1-5516, 15-1420 15th Street, Keaau, HI 96749; Ryan Holmes, who resides at 504 Thomas

 Ave, Forest Park, IL 60130-1968; Timothy Munson, who resides at 5217 12th Ave, Moline, IL

 61265-2849; Peter Shaw, 1136 East Madison Street, South Bend, IN 46617; Kelly Gallant, who

 resides at 117 Calais Street, Nashua, NH 03060; Gerard Rousseau, whose address is 169

 Washington Street, Apt. 311, Fairhaven, MA, 02719; Christopher Briggs, who resides at 2955

 Avery Road, St. Johns, MI 48879; Joseph Gawron, who resides at 2285 Monica Lane,

 Muskegon, MI 49442; Sandra King, who resides at 16 Toler Drive, Fredericktown, MO 63645;


                                                   2
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 3 of 58 PageID: 1874



 Julie Sullivan, who resides at 1113 Calico Avenue, Billings, MT 59105; Michele Otten, who

 resides at 9636 Rolling Rock Way, Reno, NV 89251; Vincent Camissa, who resides at 6 Gertz

 Avenue, Little Ferry, NJ 07643; Edward Lennon, who resides at 7 Whitman Ridge Drive,

 Melville, NY 11747; Goran Oydanich, who resides at 595 Main Street, Apt. 806, New York, NY

 10044; Robert Paventi, who resides at 68 Gary Place, Staten Island, NY 10314; Alex Tejada,

 who resides at 38 Pamela Road, Brentwood, NY 11717; Julia Stalla, who resides at 4861 North

 Barton Road, North Ridgeville, OH 44039; Michael Todd Hinchliffe, who resides at 8006 SE

 30th Avenue, Portland, Oregon 97202; Jason Persinger, who resides at 402 14th Street, Apt.3,

 Huntington Beach, CA 92648; and Tracy Chosa, who resides at 2512 Northwest 47th Avenue,

 Camas, WA 98603 (collectively “Plaintiffs” or “Class Representatives”), by and through their

 attorneys, for their Consolidated Amended Collective and Class Action Complaint, make the

 following allegations upon personal knowledge as to themselves and their own acts, and upon

 information and belief as to all other matters, against defendants Prudential Financial, Inc.,

 Prudential Insurance Co. of America, both of whose principal place of business is at 751 Broad

 Street, Newark, NJ 07102 (collectively “Prudential” or “the Prudential defendants,” which terms

 include Prudential’s predecessors and/or subsidiaries), Does 1-50 and ABC Corporations 1-50

 (collectively, including Prudential, “Defendants").

                                  NATURE OF THE ACTION

        2.      Plaintiffs bring this lawsuit as a collective action under the Federal Fair Labor

 Standards Act (“FLSA”), 29 U.S.C. §§ 201, et seq. and as a class action pursuant to

 Fed.R.Civ.P. 23 on behalf of themselves and all other persons similarly situated who suffered

 damages as a result of the violations of the FLSA, and of the Labor Laws of the States of

 California, Hawaii, Illinois, Indiana, Massachusetts, Michigan, Missouri, Montana, Nevada,




                                                 3
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 4 of 58 PageID: 1875



 New Jersey, New York, Ohio, Oregon, Pennsylvania, and Washington, and as a result of other

 wrongful conduct and improper labor practices committed by Defendants.

        3.      Prudential misclassified Plaintiffs when it wrongfully chose to treat them as

 exempt from the protection of these laws.            Plaintiffs are current or former registered

 representatives whose primary duty for Prudential was to service Prudential’s business and

 advise clients on various insurance and financial products, taking into account the registered

 representative’s knowledge of the needs, goals and risk tolerance of each client, as well as the

 registered representative’s knowledge of and experience with the insurance industry and market.

 These predominant advisory obligations starkly contrast with the duties of a sales person, e.g., a

 car dealer or a store clerk, and for this reason (among others), Plaintiffs do not fall within the

 “outside sales” exemption to the federal and state labor laws. Nor do Plaintiffs fall within any of

 the so-called “white-collar” exemptions, i.e., the administrative, professional or executive

 exemptions, because (among other reasons) Prudential does not and did not pay Plaintiffs on any

 kind of guaranteed “salary basis.” In the same way that Prudential thus misclassified Plaintiffs,

 Prudential also unlawfully misclassified and mistreated thousands of its other similarly situated

 employees.

        4.      The persons Plaintiffs seek to represent are current and former employees of

 Defendants who were engaged in providing financial services, including advice and planning

 involving securities, insurance, mutual funds and other financial products, known as “registered

 representatives,” and persons training to be “registered representatives,” who were and/or are

 employed by Defendants in the United States on a commission basis, and to whom Defendants

 failed to pay overtime for work performed in excess of 40 hours per week as required by federal

 law; or as required by state law; or who are or were subjected to unlawful deductions from their




                                                  4
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 5 of 58 PageID: 1876



 pay by Defendants, unlawfully compelled to pay for Defendants’ business expenses, or

 unlawfully charged back for commissions or other losses allegedly caused by them through

 simple negligence or through no fault of their own.        The positions in which the persons

 identified in this paragraph were employed by Defendants are collectively referred to herein as

 “Covered Positions.”

        5.     The group and classes that Plaintiffs seek to represent are:

               (a)      the “Federal Collective Group” that consists of approximately 350

               individuals who were or are employed by Defendants in Covered Positions

               in the United States of America at any time since September 15, 2003 (the

               “Federal Eligibility Period”), who filed consents to join the collective

               action conditionally certified by this Court on March 27, 2008 (Case No.

               06-04359, docket no. 54), and who have not subsequently been voluntarily

               dismissed; and

               (b)      the “State Law Class” consisting of all individuals employed by

               Defendants in Covered Positions in California, Hawaii, Illinois, Indiana,

               Massachusetts, Michigan, Missouri, Montana, Nevada, New Jersey, New

               York, Ohio, Oregon, Pennsylvania and Washington at any time during the

               maximum applicable limitations periods authorized by the laws of those

               jurisdictions, including: (i) all individuals, employed by Defendants in

               Covered Positions in the Commonwealth of Pennsylvania at any time

               since September 15, 2000; (ii) all individuals employed by Defendants in

               Covered Positions in the State of California at any time since March 20,

               2004; (iii) all individuals employed by Defendants in Covered Positions in




                                                 5
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 6 of 58 PageID: 1877



             the State of Hawaii at any time since December 15, 2002; (iv) all

             individuals employed by Defendants in Covered Positions in the State of

             Illinois at any time since December 15, 2003; (v) all individuals employed

             by Defendants in Covered Positions in the State of Indiana at any time

             since December 15, 2002; (vi) all individuals employed by Defendants in

             Covered Positions in the State of Massachusetts at any time since

             December 15, 2002; (vii) all individuals employed by Defendants in

             Covered Positions in the State of Michigan at any time since December

             15, 2002; (viii) all individuals employed by Defendants in Covered

             Positions in the State of Missouri at any time since December 15, 2006;

             (ix) all individuals employed by Defendants in Covered Positions in the

             State of Montana at any time since December 15, 2003; (x) all individuals

             employed by Defendants in Covered Positions in the State of Nevada at

             any time since December 15, 2005; (xi) all individuals, employed by

             Defendants in Covered Positions in the State of New Jersey at any time

             since December 15, 2006 with respect to overtime claims and since

             December 15, 2002 with respect to other claims; (xii) all individuals,

             employed by Defendants in Covered Positions in the State of New York at

             any time since December 15, 2002; (xiii) all individuals employed by

             Defendants in Covered Positions in the State of Ohio at any time since

             December 15, 2002; (xiv) all individuals, employed by Defendants in

             Covered Positions in the State of Oregon at any time since December 15,

             2006 with respect to overtime claims and since December 15, 2002 with




                                             6
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 7 of 58 PageID: 1878



             respect to other claims; and (xv) all individuals employed by Defendants

             in Covered Positions in the State of Washington at any time since

             December 15, 2005 (collectively the “State Law Class Periods”).

             (c)      The following State Law Sub-Classes, included in the State Law

             Class:

                      (i)     The “State Law Overtime Sub-Class” consisting of

                      members of the State Law Class employed in Covered Positions in

                      California, Illinois, Massachusetts, Missouri, Montana, Nevada,

                      New Jersey, New York, Ohio, Oregon, Pennsylvania and

                      Washington to whom Defendants failed to pay overtime for work

                      performed in excess of 40 hours per week or as otherwise required

                      by state law in those jurisdictions;

                      (ii)    The “State Law Charge Back Sub-Class” consisting of

                      members of the State Law Class employed in Covered Positions in

                      California, Hawaii, Illinois, Indiana, Michigan, New Jersey, New

                      York, Oregon, Pennsylvania and Washington during the relevant

                      State Law Class Periods, who were and are subject to improper

                      deductions and charge backs, as more fully alleged hereinbelow;

                      (iii)   The “State Law Waiting Time/Penalties Sub-Class”

                      consisting of members of the State Law Class employed in

                      Covered Positions in California, Hawaii, Illinois, Indiana,

                      Michigan, Missouri, Montana, Nevada, Ohio, Oregon and

                      Pennsylvania during the relevant State Law Class Periods, who




                                                 7
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 8 of 58 PageID: 1879



                       were and are entitled to late payment or waiting time penalties as a

                       result of Defendants’ failure to timely pay such employees; and

                       (iv)    The “State Law Rest/Meal Periods/Unfair Competition

                       Sub-Class” consisting of members of the State Law Class

                       employed in Covered Positions in California during the relevant

                       State Law Class Period, who were and are entitled to rest and/or

                       meal periods and who were and are entitled to be protected from

                       unfair competition.

        6.      As a result of Defendants’ violation of the FLSA and the Labor Laws of

 California, Hawaii, Illinois, Indiana, Massachusetts, Michigan, Missouri, Montana, Nevada,

 New Jersey, New York, Ohio, Oregon, Pennsylvania and Washington, Plaintiffs, members of the

 Federal Collective Group and members of the State Law Class (collectively, “Collective and

 Class Members”) were unlawfully uncompensated for their work.

                                 JURISDICTION AND VENUE

        7.      This Court has jurisdiction over the claims asserted in this action pursuant to 28

 U.S.C. § 1331, federal question jurisdiction, 28 U.S.C. § 1332(d), the Class Action Fairness Act

 of 2005, and 28 U.S.C. § 1367, supplemental jurisdiction of state law claims, for the following

 reasons:

                (a)    This Court has federal question jurisdiction under 28 U.S.C. § 1331 of all

 claims based on FLSA in that such claims arise under the laws of the United States and the

 Court has original jurisdiction of such claims pursuant to 29 U.S.C. § 216(b);

                (b)    The Court has jurisdiction over all other claims based on diversity of

 citizenship under 28 U.S.C. § 1332(d), the Class Action Fairness Act of 2005, in that (i)




                                                 8
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 9 of 58 PageID: 1880



 Defendant Prudential’s principal place of business and state of incorporation is New Jersey,

 thus, for purposes of diversity of citizenship, it is a citizen of New Jersey; (ii) this is a class

 action in which the amount in controversy, i.e., the damages sought by Plaintiffs on behalf of the

 Classes they purport to represent, exceed the sum of $ 5,000,000, exclusive of interest and costs;

 (iii) less than one-third of the members of all proposed plaintiff classes in the aggregate are

 citizens of the State in which the action was originally filed, i.e. New Jersey; and the number of

 members of all proposed plaintiff classes in the aggregate include at least 100 members; and

                (c)     The Court has supplemental jurisdiction under 28 U.S.C. § 1367 of all

 state law claims alleged herein over which it does not have original jurisdiction, if any there be,

 in that such claims are so related to the claims of which the Court has original jurisdiction under

 28 U.S.C. §§ 1331 and 1332(d) that they form part of the same case or controversy.

        8.      Venue is proper under 28 U.S.C § 1391(b)(1) and § 1391(c) because each of the

 Defendants is resident in this District.

                                            PARTIES

                                Plaintiffs and Class Representatives

        9.      During the Federal Eligibility Period Plaintiffs Jeffrey Bouder, a resident and

 citizen of Pennsylvania; Jim Wang, John Costa, Christine Musthaler, Steven Song, David

 Uchansky, residents and citizens of California; Alan Scott Rudo, a resident and citizen of

 Hawaii; Ryan Holmes and Timothy Munson, residents and citizens of Illinois; Peter Shaw, a

 resident and citizen of Indiana; Gerard Rousseau, a resident and citizen of Massachusetts;

 Christopher Briggs and Joseph Gawron, residents and citizens of Michigan; Sandra King, a

 resident and citizen of Missouri; Julie Sullivan, a resident and citizen of Montana; Michele

 Otten, a resident and citizen of Nevada; Kelly Gallant, a resident and citizen of New Hampshire;




                                                  9
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 10 of 58 PageID: 1881



  Vincent Camissa, a resident and citizen of New Jersey; Edward Lennon, Goran Oydanich,

  Robert Paventi and Alex Tejada, residents and citizens of New York; Julia Stalla, a resident and

  citizen of Ohio; Michael Todd Hinchliffe, a resident and citizen of Oregon; and Tracy Chosa, a

  resident and citizen of Washington (collectively “Federal Collective Group Plaintiffs”), were

  employed by Prudential as registered representatives in Covered Positions in the United States.

  Plaintiffs Joseph Gawron, Sandra King, Vincent Camissa and Julia Stalla are still employed by

  Prudential as registered representatives in Covered Positions in the United States.

         10.     During the State Law Class Periods Plaintiff Jeffrey Bouder was employed by

  Prudential as a registered representative in a Covered Position in the Commonwealth of

  Pennsylvania; Plaintiffs Jim Wang, John Costa, Christine Musthaler, Steven Song and David

  Uchansky were employed by Prudential as registered representatives in Covered Positions in the

  State of California; Plaintiff Alan Scott Rudo was employed by Prudential as a registered

  representative in the State of Hawaii; Plaintiffs Ryan Holmes and Timothy Munson were

  employed by Prudential as registered representatives in Covered Positions in the State of

  Illinois; Plaintiff Peter Shaw was employed by Prudential as a registered representative in a

  Covered Position in the State of Indiana; Plaintiffs Gerard Rousseau and Kelly Gallant were

  employed by Prudential as registered representatives in Covered Positions in the Commonwealth

  of Massachusetts; Plaintiffs Christopher Briggs and Joseph Gawron were employed by

  Prudential as registered representatives in Covered Positions in the State of Michigan; Plaintiff

  Sandra King was employed by Prudential as a registered representative in a Covered Position in

  the State of Missouri; Plaintiff Julie Sullivan was employed by Prudential as a registered

  representative in a Covered Position in the State of Montana; Plaintiff Michele Otten was

  employed by Prudential as a registered representative in a Covered Position in the State of




                                                  10
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 11 of 58 PageID: 1882



  Nevada; Plaintiff Vincent Camissa was employed by Prudential as a registered representative in

  a Covered Position in the State of New Jersey; Plaintiffs Edward Lennon, Goran Oydanich,

  Robert Paventi and Alex Tejada were employed by Prudential as registered representatives in

  Covered Positions in the State of New York; Plaintiff Julia Stalla was employed by Prudential as

  a registered representative in a Covered Position in the State of Ohio; Plaintiffs Michael Todd

  Hinchliffe and Jason Persinger were employed by Prudential as registered representatives in

  Covered Positions in the State of Oregon; and Plaintiff Tracy Chosa was employed by Prudential

  as a registered representative in a Covered Position in the State of Washington (collectively

  “State Law Plaintiffs”). Plaintiffs Joseph Gawron, Sandra King, Vincent Camissa and Julia

  Stalla are still employed by Prudential as registered representatives in Covered Positions in

  Michigan, Missouri, New Jersey and Ohio, respectively.

                                            Defendants

           11.   During the Federal Eligibility and State Law Class Periods, Defendant Prudential

  Insurance Company of America was and is a New Jersey company licensed to sell life insurance

  and annuities in all States with its principal place of business at 751 Broad Street, Newark, NJ,

  07102.

           12.   During the Federal Eligibility and State Law Class Periods, Defendant Prudential

  Financial, Inc. was and is a publicly-owned holding company, traded on the New York Stock

  Exchange, whose operating subsidiaries provide a wide range of insurance, investment

  management and other financial products and services to retail and institutional customers

  including insurance brokers and investment managers, with its principal place of business at 751

  Broad Street, Newark, NJ, 07102.




                                                 11
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 12 of 58 PageID: 1883



         13.       Defendants Prudential Insurance Company of America and Prudential Financial,

  Inc. (sometimes collectively referred to herein as “Prudential” were and are doing business as

  insurance and brokerage firms engaged in providing insurance, securities and other financial

  products and providing financial advice with offices located nation-wide, including in

  California, Hawaii, Illinois, Indiana, Massachusetts, Michigan, Missouri, Montana, Nevada,

  New Jersey, New York, Ohio, Oregon, Pennsylvania and Washington.

         14.       On information and belief, Plaintiffs allege that Prudential employs thousands of

  registered representatives at any one time throughout the United States, including California,

  Hawaii, Illinois, Indiana, Massachusetts, Michigan, Missouri, Montana, Nevada, New Jersey,

  New York, Ohio, Oregon, Pennsylvania and Washington. Plaintiffs estimate that the Federal

  Collective Group and the State Law Class far exceed the number of registered representatives

  employed by Prudential at any one time during the relevant Federal Eligibility and State Law

  Class Periods.

         15.       Defendants Does 1-50 are fictitious names for individuals who may be

  responsible for the wrongful conduct and labor practices that caused harm to the Plaintiffs and

  the class, the true names and capacities of which are unknown to Plaintiffs, but Plaintiffs will

  amend this Complaint when and if the true names of said Defendants become known to them.

         16.       Defendants ABC Corporations 1-50 are fictitious names for companies,

  partnerships, joint ventures and/or corporations, including predecessors, successors and

  subsidiaries of Prudential, who may be responsible for the wrongful conduct and labor practices

  that caused harm to the Plaintiffs and the class, the true names and capacities of which are

  unknown to Plaintiffs, but Plaintiffs will amend this Complaint when and if the true names of

  said Defendants become known to them.




                                                   12
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 13 of 58 PageID: 1884



           17.   Plaintiffs, upon information and belief, allege that during the Federal Eligibility

  and State Law Class Periods, Defendants were each the agent of the other Defendants, and in

  performing the acts alleged in this Complaint were acting within the course and scope of that

  agency and any reference to “Defendant” or “Defendants” shall mean “Defendants and each of

  them.”    Defendants are individually, jointly and severally liable as the employers of the

  Plaintiffs and each Plaintiff class member because each Defendant directly or indirectly, or

  through an agent or any other person, employed or exercised control over the wages, hours and

  working conditions of Plaintiffs and the other Collective and Class Members.

                    CLASS AND COLLECTIVE ACTION ALLEGATIONS

           18.   The Federal Collective Group Plaintiffs bring this action on behalf of themselves,

  and the Federal Collective Group pursuant to the Fair Labor Standards Act, § 216(b).

           19.   Plaintiffs are informed and believe that there are approximately 350 members of

  the Federal Collective Group.

           20.   Plaintiffs are similarly situated to the other members of the Federal Collective

  Group because they all (a) worked for Defendants as registered representatives during the

  Federal Eligibility Period; (b) performed the same or similar job functions and responsibilities as

  registered representatives of Prudential; and (c) worked overtime hours without receiving

  overtime compensation. As a result, there are questions of law and fact common to the Plaintiffs

  and the Federal Collective Group; and, therefore, Plaintiffs have a well-defined community of

  interest with and are adequate representatives of the Federal Collective Group.

           21.   The following questions of law and fact common to the Federal Collective Group

  predominate over questions which may affect only individual members of the Federal Collective

  Group:




                                                  13
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 14 of 58 PageID: 1885



                 a.     Whether Defendants failed to adequately compensate the members of the

                 Federal Collective Group for overtime hours worked as required by the FLSA;

                 and

                 b.     Whether the members of the Federal Collective Group have been

                 damaged and, if so, the extent of such damages.

         22.     The State Law Plaintiffs bring this action on behalf of themselves, and the State

  Law Class pursuant to Fed.R.Civ.P. 23.

         23.     The State Law Plaintiffs are informed and believe that there are thousands of

  members of the State Law Class and hundreds, if not thousands, of members of each of the State

  Law Sub-Classes; thus, the State Law Class and each of the State Law Sub-Classes are so

  numerous that joinder is impractical.

         24.     There are questions of law and fact common to the State Law Plaintiffs and the

  other members of the State Law Class, and there are questions of law and fact common to each

  of the State Law Plaintiffs and the other members of each of the State Law Sub-Classes.

  Therefore, those Plaintiffs who are members of the State Law Class, and those Plaintiffs who are

  members of each State Law Sub-Class, are similarly situated to the other members of their

  respective Class and Sub-Classes and are adequate representatives of the Class and the Sub-

  Classes.

         25.     The following questions of law and fact are common to the State Law Class and

  the State Law Sub-Classes and predominate over questions which may affect only individual

  members of the State Law Class and each of the State Law Sub-Classes:

                 a.     Whether Defendants failed to adequately compensate the members of the

                 State Law Overtime Sub-Class for overtime hours worked as required by the




                                                 14
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 15 of 58 PageID: 1886



             Labor Laws of California, Illinois, Massachusetts, Missouri, Montana, Nevada,

             New Jersey, New York, Ohio, Oregon, Pennsylvania and Washington, including,

             without limitation: (i) Cal. Labor Code, § 510(a); (ii) Illinois Minimum Wage

             Act, 820 LCS 105/4a; (iii) Massachusetts Minimum Fair Wage Law, M.G.L. ch.

             151, §§ 1A and 1B; (iv) Missouri Revised Statutes (“Mo. Rev. Stat.”) §

             290.505(1); (v) Montana Code § 39-3-405(1); (vi) Nevada Revised Statutes

             (“NRS”) § 608.018; (vii) New Jersey State Wage and Hour Law, N.J.S.A. 34:11-

             56a through 34:11:56a30; (viii) NYCRR § 142-2.2 and New York Labor Law

             Article 19 § 650 et seq.; (ix) Ohio Revised Code §4111.03(A); (x) Oregon

             Revised Statutes (“ORS”) §§653.261(1) and the implementing regulations,

             including Oregon Administrative Rules (“OAR”) §§839-020-0030; (xi)

             Pennsylvania Minimum Wage Act, 43 P.S. §§333.101, et seq.; and (xii)

             Washington Minimum Wage Act (Revised Code of Washington (“RCWA”) §

             49.46.130);

             b.     Whether Defendants wrongfully deducted monies from the wages of the

             members of the State Law Charge Back Sub-Class, and/or otherwise required

             members of the State Law Charge Back Sub-Class to pay for support staff and

             other overhead expenses and/or reversed trades, in violation of the Labor Laws of

             California, Hawaii, Illinois, Indiana, Michigan, New Jersey, New York, Oregon,

             Pennsylvania and Washington, including, without limitation: (i) Cal. Lab. Code,

             §§ 2802, 203, 204, 221, 406, 407; (ii) HRS § 388-6; (iii) Illinois Minimum Wage

             Act, 820 LCS 115/9 and the implementing regulations, including 56 Ill. Adm.

             Code §§ 300.720, 300.730; (iv) Indiana Code Ann. § 22-2-6-2; (v) Michigan




                                             15
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 16 of 58 PageID: 1887



             Compiled Laws (“MCL”) §§ 408.477(1), 408.478; (vi) New Jersey State Wage

             and Hour Law, N.J.S.A. 34:11-4.4; (vii) New York Labor Law Article 6 § 193;

             (viii) ORS § 652.610(3); (ix) Pennsylvania Wage Payment and Collection Law

             (“WPCL”), 43 P.S. §§260.1, et seq.; and (x) RCWA §§ 49.48.010, 49.52.050.

             c.     Whether Defendants incurred late payment or waiting time penalties as a

             result of failure to timely pay the State Law Late Payment Penalties Sub-Class,

             by failing to tender payment and/or restitution of wages owed in the amount or

             the manner required by the Labor Laws of California, Hawaii, Illinois, Indiana,

             Michigan, Missouri, Montana, Nevada, Ohio, Oregon and Pennsylvania,

             including, for example and without limitation, (i) California Labor Code Sections

             201(a), 202(a), 203, 204; (ii) Hawaii Revised Statutes Sections 388-3(a), 388-10;

             820 ILCS 115/5, 105/12(a), 120/2, 120/3; (iii) Indiana Code Ann. §§ 22-2-9-2(a),

             22-2-4-4, (iv) Michigan Compiled Laws Sections 408.475, 408.888; (v) Mo. Rev.

             Stat.”) § 290.527; (vi) Montana Code Annotated, Sections 39-3-205(1), 39-3-206;

             (vii) NRS §§ 608.020, 608.030 and 608.040; (viii) Ohio Revised Code Sections

             4113.15(A) and (B); (ix) Oregon Revised Statutes Sections 652.140(1),

             652.140(2), 652.150; and (x) Pennsylvania Wage Payment and Collection Law,

             WPCL, 43 P.S. Sections 260.5, 260.10, which provide that when an employee is

             discharged or terminates employment for any reason, the employer must pay the

             employee all wages due not later than the regular payday for the pay period

             during which the employee’s termination, suspension or cessation of employment

             took place.




                                             16
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 17 of 58 PageID: 1888



                d.      Whether Defendants wrongfully failed to provide members of the State

                Law Rest/Meal Periods/Unfair Competition Sub-Class with rest and/or meal

                periods in violation of Cal. Lab. Code §§ 1198 and 226.7 and the regulations and

                orders implementing the Code, and committed acts of unfair competition in

                violation of the California Unfair Competition Law, Cal. Bus. & Prof. Code §

                17200, by failing to pay the members of the State Law Rest/Meal Periods/Unfair

                Competition Sub-Class overtime pay for all hours worked in excess of forty (40)

                hours in a workweek in violation of the FLSA and Cal. Lab. Code § 510(a), and

                by failing to comply with California Labor Code §§ 203, 204, 221, 226.7, 406,

                407, 1194, 1198 and 2802; and

                        e.     Whether the members of the State Law Class have been damaged

                and, if so, the extent of such damages; whether the members of the State Law

                Late Payment Penalties Sub-Class are entitled to penalties and, if so, the extent of

                such penalties; whether defendants are liable to the members of the State Law

                Rest/Meal Periods/Unfair Competition Sub-Class for premium pay of one hour

                for each workday that such rest and/or meal periods were denied, and for

                damages resulting from acts of unfair competition, and, if so, the extent of such

                damages.

         26.    Plaintiffs are asserting claims that are typical of the claims of the Federal

  Collective Group, the State Law Class, and the State Law Sub-Classes. Plaintiffs will fairly and

  adequately represent and protect the interests of the Federal Collective Group, the State Law

  Class, and the State Law Sub-Classes, and have no interests antagonistic to those of the other




                                                 17
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 18 of 58 PageID: 1889



  Collective and Class Members.        Plaintiffs have retained attorneys who are competent and

  experienced in the prosecution of class and collective action litigation.

         27.     Plaintiffs and other Collective and Class Members have suffered damages as a

  result of Defendants’ wrongful conduct.       Because the size of the claims of the individual

  Collective and Class Members are relatively small, few, if any, Collective and Class Members

  could afford to seek legal redress for the wrongs complained of herein. A collective and class

  action is, therefore, superior to other available methods for the fair and efficient adjudication of

  the controversy.

         28.     Absent a collective and class action, the Collective and Class Members likely will

  not obtain redress of their injuries and Defendants will retain the proceeds of their violations of

  the FLSA and the Labor Laws of California, Hawaii, Illinois, Indiana, Massachusetts, Michigan,

  Missouri, Montana, Nevada, New Jersey, New York, Ohio, Oregon, Pennsylvania and

  Washington, including, without limitation those statutes and regulations cited in paragraph 25 of

  this Complaint.

                     FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

         29.     Neither Plaintiffs nor the other members of the Federal Collective Group or State

  Law Overtime Sub-Class were or are part of any group exempt from the overtime requirements

  of Federal Law, or the Labor Laws of California, Hawaii, Illinois, Massachusetts, Missouri,

  Montana, Nevada, New Jersey, New York, Ohio, Oregon, Pennsylvania or Washington.

         30.     The duties of Plaintiffs and the other members of the Federal Collective Group

  and State Law Overtime Sub-Class included the following:

                 a.      Registered representatives meet with current or prospective clients,

                 typically in person, to collect and discuss each client’s life insurance and financial




                                                   18
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 19 of 58 PageID: 1890



             information (e.g., assets, income, debts, cash flow, tax status, retirement savings,

             and financial objectives) and needs.

             b.     Registered representatives analyze the information collected from current

             and prospective clients and compare and evaluate possible life insurance and

             financial products to develop individualized advice and strategies for each client

             based upon each client’s insurance and financial status, risk tolerance, needs, and

             objectives.

             c.     Registered     representatives    provide     individualized    advice     and

             recommendations to current and prospective clients on the purchase of life

             insurance and other financial products. This includes explaining and discussing

             with clients the advantages and disadvantages of various life insurance and

             financial products, including the costs, monetary values or returns, death benefits,

             and risks of each.

             d.     Registered representatives structure transactions to ensure that they result

             in the maximum benefit for clients, while also conforming with the laws,

             regulations, and requirements governing the insurance industry and the securities

             industry.

             e.     Registered representatives make sales of life insurance and other financial

             products.

             f.     Registered representatives engage in promotion and business development

             activities, including the marketing, servicing, and promoting of Prudential’s

             insurance and other financial products and services.        They make themselves

             visible to the public to attract, meet and retain potential new clients for Prudential




                                               19
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 20 of 58 PageID: 1891



                 and to explain and promote the life insurance and other financial products offered

                 by Prudential. They also develop business by contacting or networking with

                 current or prospective clients and by developing and maintaining relationships

                 with sources of leads and referrals. They make in-person calls on, or attend

                 social functions with, real estate agents, attorney, brokers, and other potential

                 sources of referrals and leads and make presentations at seminars or gatherings of

                 trade associations and civic and non-profit organizations. For example, they may

                 participate in seminars or conferences to explaining new insurance products and

                 services that are offered, and to identify and attract new clients.

         31.     Registered representatives, such as Plaintiffs and the other members of the

  Federal Collective Group and State Law Overtime Sub-Class have a primary duty other than

  sales, because their work includes collecting and analyzing a client’s financial information,

  advising the client about the risks and the advantages and disadvantages of the insurance and

  other financial products available from Prudential in light of the client’s individual financial

  circumstances, recommending to the client only those products that are suitable for the client’s

  particular financial status, objectives, risk tolerance, and other investment needs, and servicing

  or promoting Prudential’s insurance and other financial products.           In addition, registered

  representatives perform their duties for Prudential primarily at Prudential’s places of business.

  Consequently, Plaintiffs and the other members of the Federal Collective Group and State Law

  Overtime Sub-Class were not and are not outside salespersons as defined in the FLSA and by the

  Labor Laws of California, Hawaii, Illinois, Massachusetts, Missouri, Montana, Nevada, New

  Jersey, New York, Ohio, Oregon, Pennsylvania or Washington.




                                                   20
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 21 of 58 PageID: 1892



         32.     Members of the Federal Collective Group and the State Law Overtime Sub-Class

  were and are not paid on a “salary basis”, were and are not “professionals”, and did not perform

  “executive” functions as these terms are defined by the FLSA or by the Labor Laws of the States

  and jurisdictions of the United States, including, without limitation, the Labor Laws of

  California, Hawaii, Illinois, Massachusetts, Missouri, Montana, Nevada, New Jersey, New York,

  Ohio, Oregon, Pennsylvania or Washington.

         33.     Plaintiffs and the other members of the Federal Collective Group and the State

  Law Overtime Sub-Class were employed by Prudential as registered representatives pursuant to

  written contracts and routinely worked and/or work more than 40 hours per week, but were paid

  by Defendants on a commission basis without any premium for overtime pay as required by law.

         34.     Defendants compelled Plaintiffs and the other members of the State Law Charge

  Back Sub-Class to compensate secretaries, sales assistants and/or other workers for performing

  services for the benefit of Defendants, and charged Plaintiffs and the other members of the State

  Law Charge Back Sub-Class or refused to compensate them for payments made to such

  secretaries, sales assistants and/or other workers.

         35.     Defendants also charged Plaintiffs and the other members of the State Law

  Charge Back Sub-Class or refused to compensate them for defendants' overhead and other

  expenses and costs of doing business, including, without limitation, technology charges, sales

  assistants and office occupation and support charges.

         36.     Prudential, as part of its regular business practices, charged back commissions

  earned by Plaintiffs and the other members of the State Law Charge Back Sub-Class if any sales

  of financial products were canceled, even without fault on the part of the registered

  representatives. Prudential also improperly deferred payment of commissions and then refused




                                                   21
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 22 of 58 PageID: 1893



  to compensate Plaintiffs and the other members of the State Law Charge Back Sub-Class for

  commissions earned which remained unpaid at the time a registered representative terminated

  his or her employment with Prudential, instead deducting the amount of such commissions from

  amounts due to the registered representatives.

                                   FIRST CLAIM FOR RELIEF

           (Restitution for Failure to Pay Overtime to the Federal Collective Group --

                                      Violation of FLSA § 207)

          37.    The Federal Collective Group Plaintiffs incorporate by reference all of the

  allegations of all prior paragraphs as though fully set forth herein and allege the following claim

  for relief on behalf of themselves and on behalf of the Federal Collective Group under the

  FLSA.

          38.    The Federal Collective Group includes all registered representatives employed by

  Defendants in the United States. For purposes of the Fair Labor Standards Act, the employment

  practices of Defendants were and are uniform throughout the United States in all respects

  material to the claims asserted in this Complaint.

          39.    Section 207(a)(1) of the Federal Fair Labor Standards Act provides in pertinent

  part:

          Except as otherwise provided in this section, no employer shall employ any of his

          employees who in any work week is engaged in commerce or in the production of

          goods for commerce, for a work week longer than forty hours unless such

          employee receives compensation for his employment in excess of the hours above

          specified at a rate not less than one and one-half times the regular rate at which he

          is employed.




                                                   22
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 23 of 58 PageID: 1894



  29 U.S.C. § 207(a)(1) (2005).

         40.    Section 207(i) of the Federal Fair Labor Standards Act provides for certain

  exemptions from the above provision:

         No employer shall be deemed to have violated subsection (a) [of this section -

         mandate to compensate employees for overtime] by employing any employee of a

         retail or service establishment for a workweek in excess of the applicable work

         week specified therein, if (1) the regular rate of pay of such employee is in excess

         of one and one-half times the minimum hourly rate applicable to him under section

         6 [29 U.S.C. § 206], and (2) more than half his compensation for a representative

         period (not less than one month) represents commissions on goods or services.

  29 U.S.C. § 207(i) (2005).

         41.    The Section 207(i) exemption does not apply to the Federal Collective Group

  herein because Defendants do not qualify as “retail or service establishments.” Section 779.317

  of the Secretary of Labor’s regulations provides a “partial list of establishments to which the

  retail concept [and thus the section 207(i) exemption] does not apply.” 29 C.F.R. § 779.317

  (2005). Included in that list are “Security dealers” and "Insurance; mutual, stock and fraternal

  benefit, including insurance brokers [and] agents". See 29 C.F.R. §779.317 and see also 29

  C.F.R. §779.316.

         42.    Section 213(a)(1) of the Federal Fair Labor Standards Act provides that the

  overtime pay requirement does not apply to:

         any employee employed in a bona fide executive, administrative, or professional

         capacity (including any employee employed in the capacity of academic

         administrative personnel or teacher in elementary or secondary school), or in the




                                                 23
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 24 of 58 PageID: 1895



         capacity of outside salesman (as such terms are defined and delimited from time to

         time by regulations of the Secretary, subject to the provisions of the Administrative

         Procedure Act [5 U.S.C. §§ 551 et seq.] except than [sic] an employee of a retail or

         service establishment shall not be excluded from the definition of employee

         employed in a bona fide executive or administrative capacity because of the

         number of hours in his work week which he devotes to activities not directly or

         closely related to the performance of his executive or administrative activities, if

         less than 40 per centum of his hours worked in the work week are devoted to such

         activities).

  29 U.S.C. § 213(a)(1) (2005).

         43.     The Federal Collective Group Plaintiffs and other members of the Federal

  Collective Group do not fit within the Section 13(a)(1) exemptions under for work in an

  executive, administrative or professional capacity because each of these exemptions requires the

  employees to be paid a certain guaranteed weekly minimum on a “salary basis.” Members of the

  Federal Collective Group, however, were and are not paid on either a guaranteed “salary basis,”

  as that term is defined by the applicable overtime regulations, at the minimum rate required to

  qualify for exemption.

         44.     In addition, the Federal Collective Group Plaintiffs and other members of the

  Federal Collective Group did not and do not meet the “duties” test for the executive,

  professional and outside sales exemptions to the overtime rules.

         45.     The outside sales exemption does not apply to the Federal Collective Group

  because the primary duty of a registered representative is not sales, and because the members of

  the Federal Collective Group were primarily employed at Prudential’s places of business.




                                                 24
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 25 of 58 PageID: 1896



         46.     The exemption for executive personnel does not apply to the Federal Collective

  Group since they were not responsible for the supervision of other employees of the Defendants.

         47.     The professional exemption does not apply to the Federal Collective Group

  because the status of registered representative is not a recognized profession in a field of science

  or learning, and the skills are acquired through experience and an apprenticeship and the passage

  of a series of exams through self-study rather than at any institution of higher learning.

  Although some members of the Federal Collective Group hold advanced degrees in business,

  others do not, and the degree in business is a general degree rather than a degree related to work

  as a registered representative. There is no generally recognized advanced degree related to work

  as an registered representative, and even if there were, it is not generally required to have such a

  degree in order to be employed by Prudential as an registered representative.

         48.     There are no other exemptions applicable to Plaintiffs and/or to the other

  members of the Federal Collective Group.

         49.     The Federal Collective Group Plaintiffs and the other members of the Federal

  Collective Group regularly worked more than 40 hours per week for Defendants, and received

  no premium pay for hours worked in excess of 40 hours per week.

         50.     Defendants violated the FLSA by failing to pay the Federal Collective Group

  overtime pay for all hours worked in excess of forty (40) hours in a workweek.

         51.     In committing the wrongful acts alleged to be in violation of the Fair Labor

  Standards Act, Defendants acted willfully in that they knowingly, deliberately and intentionally

  failed to pay overtime to the Federal Collective Group Plaintiffs and the other members of the

  Federal Collective Group.




                                                  25
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 26 of 58 PageID: 1897



          52.     As a result of Defendants’ failure to pay overtime, the Federal Collective Group

  Plaintiffs and the other members of the Federal Collective Group were damaged in an amount to

  be proved at trial.

          53.     Therefore, the Federal Collective Group Plaintiffs demand that they and the other

  members of the Federal Collective Group be paid overtime compensation as required by the

  FLSA for every hour of overtime worked in any work week for which they were not so

  compensated and an additional amount equal thereto as liquidated damages, plus interest and

  attorneys’ fees as provided by law.

                                 SECOND CLAIM FOR RELIEF

                   (Failure to Pay Overtime to Members of the State Law Class)

          54.     Plaintiffs Jeffrey Bouder, Jim Wang, John Costa, Christine Musthaler, Steven

  Song, David Uchansky, Ryan Holmes, Timothy Munson, Kelly Gallant, Gerard Rousseau,

  Sandra King, Julie Sullivan, Michele Otten, Vincent Camissa, Edward Lennon, Goran

  Oydanich, Robert Paventi, Alex Tejada, Julia Stalla, Michael Todd Hinchliffe and Tracy Chosa

  (the “State Law Overtime Plaintiffs”) repeat and reallege by reference the allegations set forth

  above, as though set forth herein in full and allege the following claim for relief under the Labor

  Laws of California, Illinois, Massachusetts, Missouri, Montana, Nevada, New Jersey, New

  York, Ohio, Oregon, Pennsylvania and Washington on behalf of themselves and on behalf of the

  State Law Overtime Sub-Class.

          55.     The Labor Laws of California, Illinois, Massachusetts, Missouri, Montana,

  Nevada, New Jersey, New York, Ohio, Oregon, Pennsylvania and Washington provide that that

  any work performed by persons employed in Covered Positions in excess of forty (40) hours in

  any one workweek shall be compensated with overtime premium pay at a scale based on a




                                                  26
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 27 of 58 PageID: 1898



  multiple of the regular rate of pay for an employee. Additionally, California law requires that

  employees in Covered Positions be compensated with overtime premium pay for any hours they

  work in excess of eight (8) hours per day. As such, the State Law Overtime Plaintiffs and the

  other members of the State Law Overtime Sub-Class are entitled to such overtime premium

  compensation for work performed in excess of forty (40) hours in any one workweek, and in the

  case of California, over eight (8) hours per day, while employed by Defendants in Covered

  Positions in such States and jurisdictions of the United States.

                                     California Overtime Claims

         56.     State Law Overtime Plaintiffs Jim Wang, John Costa, Christine Musthaler,

  Steven Song and David Uchansky, and the other members of the State Law Overtime Sub-Class

  who are employed in Covered Positions in California, performed overtime work and were and

  are entitled to be paid overtime compensation for every hour of overtime worked in any

  workweek for which they were not so compensated, as required by the California Labor Code,

  which requires that employees be compensated for overtime work as follows:

                 a.      Cal. Lab. Code § 510(a) provides, in relevant part:

                 Eight hours of labor constitutes a day's work. Any work in excess of eight

                 hours in one workday and any work in excess of 40 hours in any one

                 workweek and the first eight hours worked on the seventh day of work in

                 any one workweek shall be compensated at the rate of no less than one

                 and one-half times the regular rate of pay for an employee. Any work in

                 excess of 12 hours in one day shall be compensated at the rate of no less

                 than twice the regular rate of pay for an employee. In addition, any work

                 in excess of eight hours on any seventh day of a workweek shall be




                                                   27
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 28 of 58 PageID: 1899



                compensated at the rate of no less than twice the regular rate of pay of an

                employee;

                b.      Cal. Lab. Code § 515(d) provides that:

                For the purpose of computing the overtime rate of compensation required

                to be paid to a nonexempt full-time salaried employee, the employee's

                regular hourly rate shall be 1/40th of the employee's weekly salary; and

                c.      Cal. Lab. Code § 1194(a) states:

                Notwithstanding any agreement to work for a lesser wage, any employee

                receiving less than the legal minimum wage or the legal overtime

                compensation applicable to the employee is entitled to recover in a civil

                action the unpaid balance of the full amount of this minimum wage or

                overtime compensation, including interest thereon, reasonable attorney's

                fees, and costs of suit.

                                      Illinois Overtime Claims

         57.    Plaintiffs Ryan Holmes and Timothy Munson, and the other members of the

  State Law Overtime Sub-Class who are employed in Covered Positions in Illinois, performed

  overtime work, and were and are entitled to be paid overtime compensation for every hour of

  overtime worked in any workweek for which they were not so compensated, as required by the

  Illinois Minimum Wage Act, 820 ICS 105/4a (“IMWA”), which provides that no employer

  shall employ any employees for a work week of more than 40 hours unless such employee

  receives compensation for his or her employment in excess of 40 hours at a rate not less than

  1.5 times the regular rate at which such employee is employed, except as otherwise provided.

  None of the exemptions to the IMWA apply to Plaintiffs Ryan Holmes and Timothy Munson, or




                                                28
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 29 of 58 PageID: 1900



  to the other members of the State Law Overtime Sub-Class employed in Covered Positions in

  Illinois,.

                                 Massachusetts Overtime Claims

           58.   Plaintiffs Kelly Gallant and Gerard Rousseau and the other members of the State

  Law Overtime Sub-Class employed in Covered Positions in Massachusetts, were and are non-

  exempt employees, performed overtime work, and were and are entitled to be paid overtime

  compensation for every hour of overtime worked in any workweek for which they were not so

  compensated, pursuant to the Massachusetts Minimum Fair Wage Law, M.G.L. ch. 151, §§ 1A

  and 1B, which requires employers to pay non-exempt employees overtime at the rate of no less

  than one and one-half times the employee’s regular salary for all hours worked in excess of

  forty (40) hours in any one workweek.

                                    Missouri Overtime Claims

           59.   Plaintiff Sandra King and the other members of the State Law Overtime Sub-

  Class employed in Covered Positions in Missouri performed overtime work, and were and are

  entitled to be paid overtime compensation for every hour of overtime worked in any workweek

  for which they were not so compensated, as required by Mo. Rev. Stat. § 290.505(1), which

  provides that no employer shall employ any employees for a work week of more than 40 hours

  unless such employee receives compensation for his or her employment in excess of 40 hours at

  a rate not less than one and one-half times the regular rate at which such employee is employed.

  None of the exemptions or exceptions to § 290.505(1) apply to Plaintiff Sandra King, or to the

  other members of the State Law Overtime Sub-Class employed in Covered Positions in

  Missouri.




                                                 29
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 30 of 58 PageID: 1901



                                    Montana Overtime Claims

         60.     Plaintiff Julie Sullivan and the other members of the State Law Overtime Sub-

  Class employed in Covered Positions in Montana performed overtime work, and were and are

  entitled to be paid overtime compensation for every hour of overtime worked in any workweek

  for which they were not so compensated, as required by the Montana Code § 39-3-405(1), which

  provides that no employer shall employ any employees for a work week of more than 40 hours

  unless such employee receives compensation for his or her employment in excess of 40 hours at

  a rate not less than one and one-half times the regular rate at which such employee is employed.

  None of the exemptions or exceptions to § 39-3-405(1) apply to Plaintiff Julie Sullivan, or to the

  other members of the State Law Overtime Sub-Class employed in Covered Positions in

  Montana.

                                     Nevada Overtime Claims

         61.     Plaintiff Michele Otten and the other members of the State Law Overtime Sub-

  Class employed in Covered Positions in Nevada performed overtime work, and were and are

  entitled to be paid overtime compensation for every hour of overtime worked in any workweek

  for which they were not so compensated, as required by the NRS § 608.018, which provides that

  an employer shall pay an employee one and one-half times the employee’s regular wage rate

  whenever an employee works more than 40 hours in any scheduled work week. None of the

  exemptions or exceptions to § 608.018 apply to Plaintiff Michele Otten, or to the other members

  of the State Law Overtime Sub-Class employed in Covered Positions in Nevada.

                                   New Jersey Overtime Claims

         62.     Plaintiff Vincent Camissa and the other members of the State Law Overtime Sub-

  Class employed in Covered Positions in New Jersey regularly worked more than 40 hours per




                                                 30
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 31 of 58 PageID: 1902



  week for Defendants, and received no premium pay for hours worked in excess of 40 hours per

  week, and were and are not exempt from the overtime requirements of New Jersey’s Labor Laws

  and implementing regulations. They thus were and are entitled to be paid overtime

  compensation for every hour of overtime worked in any workweek for which they were not so

  compensated, as required by the New Jersey Wage and Hour Law, N.J.S.A. 34:11-56a to 34:11-

  56a30, which provides that any work in excess of forty (40) hours in any one workweek shall be

  compensated at the rate of no less than one and one-half (1 ½) times the regular rate of pay for

  an employee.

                                   New York Overtime Claims

         63.     Plaintiffs Edward Lennon, Goran Oydanich, Robert Paventi and Alex Tejada, and

  all other members of the State Law Overtime Sub-Class who are employed in Covered Positions

  in New York, regularly work and/or worked more than 40 hours per week, and were or are

  compensated on a straight commission basis with no base salary and no premium pay for hours

  worked in excess of 40 hours. No exceptions to New York Labor Law apply to them. Thus, they

  were and are entitled to be paid overtime compensation for every hour of overtime worked in

  any work week for which they were not so compensated, as required by New York Law, 12

  NYCRR § 142-2.2 (2005) and New York Labor Law Article 19 § 650 et seq., which requires the

  payment of overtime compensation at one and one half times the regular rate for all hours

  worked in excess of forty (40) hours a week to non-exempt employees. 12 NYCRR § 142-2.2

  (2005), provides:

         An employer shall pay an employee for overtime at a wage rate of one and one-

         half times the employee’s regular rate in the manner and methods provided in and

         subject to the exemptions of Section [20]7 and Section [2]13 of 29 U.S.C. 201 et




                                                31
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 32 of 58 PageID: 1903



         seq., the Fair Labor Standards Act of 1938 as Amended, provided, however that

         the exemptions set forth in Section [2]13(a)(2) and [2]13(a)(4) shall not apply. In

         addition, an employer shall pay employees subject to the exemptions of Section

         [2]13 of the Fair Labor Standards Act, as Amended, except employees subject to

         Section [2]13(a)(4) of such Act, overtime at a wage rate of one and one-half time

         the basis minimum hourly rate.

                                      Ohio Overtime Claims

         64.    Plaintiff Julia Stalla and the other members of the State Law Class employed in

  Covered Positions in Ohio worked more than forty (40) hours per week, and none of the

  exclusions or exemptions under FLSA applied to them. Thus they were entitled to be paid

  overtime compensation for every hour of overtime worked in any workweek for which they

  were not so compensated, as required by Ohio Revised Code § 4111.03(A), which provides that

  “[a]n employer shall pay an employee for overtime at a wage rate of one and one-half times the

  employee’s wage rate for hours worked in excess of forty hours in one work week, in the

  manner and methods provided in and subject to the exemptions of Section 7 and Section 13 of

  the ‘Fair Labor Standards Act of 1938,’ 52 Stat. 1060, 29 U.S.C.A. §207, 213, as amended.”

                                    Oregon Overtime Claims

         65.    Plaintiff Michael Todd Hinchliffe and the other members of the State Law

  Overtime Sub-Class employed in Covered Positions in Oregon performed overtime work and

  were and are entitled to be paid overtime compensation for every hour of overtime worked in

  any workweek for which they were not so compensated, pursuant to ORS §653.261(1) and OAR

  §§839-020-0030, which require employers to pay an individual employed in Oregon overtime




                                                 32
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 33 of 58 PageID: 1904



  equal to 1.5 times the employee's regular rate of pay for all hours worked in excess of 40 hours

  per week.

                                     Pennsylvania Overtime Claims

         66.     Plaintiff Jeffrey Bouder and the other members of the State Law Overtime Sub-

  Class employed in Covered Positions in Pennsylvania performed overtime work and were and

  are entitled to be paid overtime compensation for every hour of overtime worked in any

  workweek for which they were not so compensated, as required by the Pennsylvania Minimum

  Wage Act (“PMWA”), 43 P.S. §§333.101, et seq., and the regulations implementing the

  PMWA, which provide that employers must pay overtime premium pay to employees who work

  in excess of 40 hours per week unless the employees fall into one or more express

  “exemptions”, none of which apply to Plaintiff Jeffrey Bouder or to the other members of the

  State Law Overtime Sub-Class employed in Covered Positions in Pennsylvania.

                                     Washington Overtime Claims

         67.     Plaintiff Tracy Chosa and the other members of the State Law Overtime Sub-

  Class employed in Covered Positions in Washington, all of whom were non-exempt employees,

  performed overtime work and were and are entitled to be paid overtime compensation for every

  hour of overtime worked in any workweek for which they were not so compensated, as

  provided in RCWA §49.46.130, which requires employers to pay non-exempt employees

  overtime at the rate of one and one-half times the employee’s regular salary for all hours

  worked in excess of forty (40) hours in any given workweek unless proven to be exempt from

  the protection of overtime laws.

         68.     The overtime laws of California, Hawaii, Illinois, Massachusetts, Missouri,

  Montana, Nevada, New Jersey, New York, Ohio, Oregon, Pennsylvania and Washington exempt




                                                 33
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 34 of 58 PageID: 1905



  from these overtime premium pay requirements certain “white collar” employees employed in a

  bona fide executive, administrative or professional capacity who are paid on a salary basis not

  less than a certain dollar amount, as well as certain outside sales persons. The State Law

  Overtime Plaintiffs and the other members of the State Law Overtime Sub-Class do not fit

  within these exemptions for reasons similar to those discussed above with respect to the Federal

  Collective Group and the exemptions under federal law.

         69.    Neither the State Law Overtime Plaintiffs, nor the other members of the State

  Law Overtime Sub-Class, are part of any group exempt from the overtime requirements of the

  laws of California, Hawaii, Illinois, Massachusetts, Missouri, Montana, Nevada, New Jersey,

  New York, Ohio, Oregon, Pennsylvania and Washington.

         70.    As a result of Defendants’ employment policies, the State Law Overtime

  Plaintiffs and all other members of the State Law Overtime Sub-Class employed by Defendants

  during the State Law Class Periods regularly worked and/or work more than forty (40) hours

  per week with no premium pay for hours worked in excess of forty (40) hours and as a result

  thereof, suffered damages.

         71.    Defendants violated the rights of their employees in Covered Positions in

  California, Illinois, Massachusetts, Missouri, Montana, Nevada, New Jersey, New York, Ohio,

  Oregon, Pennsylvania and Washington in violation of Cal. Lab. Code §§ 510(a) and 1194; the

  IMWA, 820 LCS 105/4a; M.G.L. ch. 151, §§ 1A and 1B; Mo. Rev. Stat. § 290.505(1); Montana

  Code § 39-3-405(1); NRS § 608.018; N.J.S.A. 34:11-56a to 34:11-56a30; 12 NYCRR § 142-

  2.2; Ohio Revised Code § 4111.03(A); ORS §653.261(1) and OAR §§839-020-0030; the

  PWPCL, 43 P.S. §§260.1, et seq. and the PMWA, 43 P.S. §§ 333.101, et seq.; and RCWA §




                                                34
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 35 of 58 PageID: 1906



  49.46.130, respectively, and the implementing regulations and the public policies articulated

  therein, by failing to pay the State Law Overtime Sub-Class overtime pay, as alleged above.

         72.     Therefore, the State Law Overtime Plaintiffs demand that they and all other

  members of the State Law Overtime Sub-Class be paid overtime compensation as required by

  the overtime laws of California, Illinois, Massachusetts, Missouri, Montana, Nevada, New

  Jersey, New York, Oregon, Pennsylvania and Washington, including, without limitation, Cal.

  Lab. Code § 510(a); the IMWA, 820 LCS 105/4a; M.G.L. ch. 151, §§ 1A and 1B; Mo. Rev.

  Stat. §§ 290.505(1), 290.527; Montana Code § 39-3-405(1); NRS §§ 608.018, 608.110;

  N.J.S.A. 34:11-56a to 34:11-56a30; NYCRR § 142-2.2 (2005); Ohio Revised Code

  §4111.03(A); ORS §653.261(1) and OAR §§839-020-0030; the PMWA, 43 P.S. §333.101, et

  seq.; and RCWA §49.46.130, for every hour of overtime worked in any workweek (and, in

  California, in any workday) during the State Law Class Periods for which they were not so

  compensated, plus interest and attorneys’ fees, as provided by law.

                                  THIRD CLAIM FOR RELIEF

     (Impermissible Deductions and Charge Backs -- State Law Charge Back Sub-Class)

         73.     Plaintiffs Jeffrey Bouder, Jim Wang, John Costa, Christine Musthaler, Steven

  Song, David Uchansky, Alan Scott Rudo, Ryan Holmes, Timothy Munson, Peter Shaw,

  Christopher Briggs, Joseph Gawron, Vincent Camissa, Edward Lennon, Goran Oydanich,

  Robert Paventi, Alex Tejada, Michael Todd Hinchliffe, Jason Persinger and Tracy Chosa (the

  “State Law Charge Back Plaintiffs”) repeat and reallege by reference the allegations set forth

  above, as though set forth herein in full, and allege the following claim for relief under the

  Labor Laws of California, Hawaii, Illinois, Indiana, Michigan, New Jersey, New York, Oregon,




                                                 35
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 36 of 58 PageID: 1907



  Pennsylvania and Washington on behalf of themselves and on behalf of the State Law Charge

  Back Sub-Class.

         74.    The Labor Laws of California, Hawaii, Illinois, Indiana, Michigan, New Jersey,

  New York, Oregon, Pennsylvania and Washington prohibit an employer from deducting or

  charging back from wages any sums other than those specifically authorized by law.

                         California Deduction and Charge Back Claims

         75.    The California Labor Code and the regulations implementing the Code impose

  the following restrictions on employers, such as Defendants, in dealing with their employees,

  such as State Law Charge Back Plaintiffs Jim Wang, John Costa, Christine Musthaler, Steven

  Song and David Uchansky, and the other members of the State Law Charge Back Sub-Class

  who are or were employed by Defendants in Covered Positions in California:

                a.     California Labor Code§ 2802(a) provides:

                An employer shall indemnify his or her employee for all necessary

                expenditures or losses incurred by the employee in direct consequence of

                the discharge of his or her duties, or of his or her obedience to the

                directions of the employer, even though unlawful, unless the employee, at

                the time of obeying the directions, believed them to be unlawful;

                b.     California Labor Code 406 provides:

                Any property put up by an employee, or applicant as a part of the contract

                of employment, directly or indirectly, shall be deemed to be put up as a

                bond and is subject to the provisions of this article whether the property is

                put up on a note or as a loan or an investment and regardless of the

                wording of the agreement under which it is put up;




                                                 36
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 37 of 58 PageID: 1908



                c.     California Labor Code 407 provides:

                Investments and the sale of stock or an interest in a business in connection

                with the securing of a position are illegal as against the public policy of the

                State and shall not be advertised or held out in any way as a part of the

                consideration for any employment; and

                d.     Section 8 of Wage Order 4-2001 of the Industrial Wage

                Commission, 8 CCR 11040(8), provides:

                No employer shall make any deduction from the wage or require any

                reimbursement from an employee for any cash shortage, breakage, or loss

                of equipment, unless it can be shown that the shortage, breakage, or loss is

                caused by a dishonest or willful act, or by the gross negligence of the

                employee.

                            Hawaii Deduction and Charge Back Claims

         76.    In Hawaii, pursuant to HRS 388-6, an employer is not permitted to make

  deductions unless they are required by law or are authorized in writing by the employee and

  certain deductions may not be authorized at all.      An employer, such as Prudential, is not

  authorized to deduct from the pay of employees such as State Law Charge Back Plaintiff Alan

  Scott Rudo, or from the pay of similarly situated members of the State Law Charge Back Sub-

  Class who are or were employed in Covered Positions in Hawaii, wages payable to other

  employees of Defendants or other operational costs, because such charges were not of a nature

  allowed under the statute and were made without the written consent of such employees.




                                                 37
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 38 of 58 PageID: 1909



                           Illinois Deduction and Charge Back Claims

         77.    Under Illinois law, 820 ILCS 115/9, an employer is only permitted to make

  deductions which are for the benefit of the employee or required by law or pursuant to the

  written consent of the employee, freely given at the time such deduction is made. Nowhere in

  the statute is an employer, such as Prudential, authorized to deduct from the pay of employees

  such as State Law Charge Back Plaintiffs Ryan Holmes and Timothy Munson, or from the pay

  of similarly situated members of the State Law Charge Back Sub-Class who are or were

  employed in Covered Positions in Illinois, wages payable to other employees of Defendants or

  other operational costs, because such charges were not for the benefit of such employees, were

  not otherwise of a nature allowed under the relevant statute, and were made without the written

  consent of such employees.

                          Indiana Deduction and Charge Back Claims

         78.    Under Indiana law, Indiana Code Ann, § 22-2-6-2, an employer is not permitted

  to make deductions from an employee’s wages unless an assignment of wages is in writing,

  signed by the employee, revocable at any time by the employee and agreed to by the employer,

  and such deductions are limited to certain enumerated categories. Nowhere in the statute is an

  employer, such as Prudential, authorized to deduct from the pay of employees such as State Law

  Charge Back Plaintiff Peter Shaw, or from the pay of similarly situated members of the State

  Law Charge Back Sub-Class who are or were employed in Covered Positions in Indiana, wages

  payable to other employees of Defendants or other operational costs, because such charges were

  not of a nature allowed under the statute and were made without the lawful written consent of

  such employees.




                                                38
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 39 of 58 PageID: 1910



                          Michigan Deduction and Charge Back Claims

         79.    In Michigan, pursuant to MCL 408.477(1), an employer is not permitted to make

  deductions from an employee’s wages without the full, free, written consent of the employee,

  obtained without intimidation or fear of discharge and pursuant to MCL 408.478, an employer is

  not permitted to demand or receive directly or indirectly any remuneration or consideration as a

  condition of employment. An employer, such as Prudential, is not authorized to deduct from the

  pay of employees such as State Law Charge Back Plaintiffs Christopher Briggs and Joseph

  Gawron, or from the pay of similarly situated members of the State Law Charge Back Sub-Class

  who are or were employed in Covered Positions in Michigan, wages payable to other employees

  of Defendants or other operational costs, because such charges were not permitted by law and

  were made without the lawful written consent of such employees.

                         New Jersey Deduction and Charge Back Claims

         80.    Similarly, the New Jersey State Wage and Hour Law, N.J.S.A. 34:11-4.4,

  prohibits an employer from “withholding” or “diverting” from wages any sums other than those

  specifically authorized by that statute. Nowhere in the statute are employers, such as Defendants

  herein, authorized to deduct from the pay of employees, such as State Law Charge Back Plaintiff

  Vincent Camissa, or from the pay of similarly situated employees, such as the other members of

  the State Law Charge Back Sub-Class who are or were employed in Covered Positions in New

  Jersey, wages payable to other employees of Defendants.

                         New York Deduction and Charge Back Claims

         81.    Further, New York Labor Law Article 6 §193 expressly prohibits an employer

  from making unauthorized deductions from employees’ wages. Thus, deductions are prohibited

  unless the deductions are (1) “expressly authorized” by and “for the benefit of the employee”




                                                 39
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 40 of 58 PageID: 1911



  and, (2) are limited to enumerated categories of permissible deductions. Nowhere in said statute

  are employers, such as Defendants, authorized to deduct from the pay of employees such as

  State Law Charge Back Plaintiffs Edward Lennon, Goran Oydanich, Robert Paventi and Alex

  Tejada or from the pay of similarly situated employees, such as the other members of the State

  Law Charge Back Sub-Class who are or were employed in Covered Positions in New York,

  wages payable to other employees of Defendants.

                          Oregon Deduction and Charge Back Claims

           82.   Oregon law, ORS §652.610(3), prohibits an employer from withholding,

  deducting, or diverting an employee's wages unless certain conditions are met. Nowhere in the

  statute is an employer, such as Prudential, authorized to deduct from the pay of employees such

  as State Law Charge Back Plaintiffs Michael Todd Hinchliffe and Jason Persinger, or from the

  pay of similarly situated members of the State Law Charge Back Sub-Class who are or were

  employed in Covered Positions in Oregon, wages payable to other employees of Defendants or

  operation costs, which deductions do not fall within any of the exceptions set forth in ORS

  §652.610(3), nor can an employer use “self help” to deduct or offset losses against an employees

  wages.

                       Pennsylvania Deduction and Charge Back Claims

           83.   Pennsylvania law limits deductions from the pay of employees, such as State

  Law Charge Back Plaintiff Jeffrey Bouder, and the other members of the State Law Charge

  Back Sub-Class who are or were employed in Covered Positions in Pennsylvania, by employers

  such as Defendants, to specifically enumerated circumstances spelled out in the Pennsylvania

  Wage Payment and Collection Law (“PWPCL”), 43 P.S. §§260.1, et seq., 43 P.S. §260.3, and




                                                40
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 41 of 58 PageID: 1912



  the applicable regulations promulgated by the Secretary of Labor and Industry of the

  Commonwealth of Pennsylvania.

                        Washington Deduction and Charge Back Claims

         84.     Under Washington law, RCWA 549.52.050, an employer is not permitted to

  make deductions which are not for the benefit of the employee or specifically allowed under the

  statute and require the written consent of the employee. Nowhere in the statute is an employer,

  such as Prudential, authorized to deduct from the pay of employees such as State Law Charge

  Back Plaintiff Tracy Chosa, or from the pay of similarly situated members of the State Law

  Charge Back Sub-Class who are or were employed in Covered Positions in Washington, wages

  payable to other employees of Defendants or other operational costs, because such charges were

  not for the benefit of such employees, were not otherwise of a nature allowed under the statute,

  and were made without the written consent of such employees.

         85.     Prudential made unlawful deductions from the wages paid to the State Law

  Charge Back Plaintiffs and to other members of the State Law Charge Back Sub-Class, and/or

  required them to pay for expenses which were, as a matter of law, their employers’ overhead

  expenses, including: (a) deductions for amounts paid to the secretary or sales assistant(s) of

  registered representatives for conducting Defendants’ business and communicating with

  customers; (b) deductions for operational costs of Defendants’ business, including office space,

  technological access charges and travel expenses; and (c) deductions for commissions that had

  been earned but were charged back because the sales of financial products generating such

  commissions were terminated or lapsed, generally through no fault on the part of the registered

  representatives.




                                                 41
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 42 of 58 PageID: 1913



           86.   The described deductions violate the laws of California, Hawaii, Illinois, Indiana,

  Michigan, New Jersey, New York, Oregon, Pennsylvania and Washington, including, without

  limitation, California Labor Code § 2802(a), HRS 388-6, 820 ILCS 115/9; Indiana Code Ann, §

  22-2-6-2; MCL 408.477(1); New Jersey State Wage and Hour Law, N.J.S.A. 34:11-4.4; N.Y.

  Lab. Law Art. 6 §193; ORS §652.610(3); PWPCL, 43 P.S. § 260.3; and RCWA 549.52.050,

  because they are not for the benefit of the employees, not authorized by law, and/or not of the

  similar type of deductions allowable under the statutes, and said deductions further breached the

  written contracts of employment with the State Law Charge Back Plaintiffs and the other

  members of the State Law Charge Back Sub-Class employed in Covered Positions in Indiana

  and Michigan under the laws of those states.

           87.   Thus, the State Law Charge Back Plaintiffs, and the other members of the State

  Law Charge Back Sub-Class, were forced to incur expenditures and losses in direct

  consequence of the discharge of their duties, or of their obedience to the directions of their

  employer, which have not yet been reimbursed by Defendants. As such, said Plaintiffs and the

  said other members of the State Law Charge Back Sub-Class were forced to contribute to the

  capital and expenses of the Defendants’ business which contributions must be refunded by

  Defendants to each said Plaintiff and to each other member of the State Law Charge Back Sub-

  Class.

           88.   Therefore, the State Law Charge Back Plaintiffs demand, on behalf of

  themselves and the other members of the State Law Charge Back Sub-Class, an accounting and

  reimbursement for all deductions, expenditures or losses charged or incurred in direct

  consequence of the discharge of their duties, or of their obedience to the directions of their

  employers, plus return of all coerced investments in the business of the employers, in violation




                                                 42
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 43 of 58 PageID: 1914



  of the Labor Laws of California, Hawaii, Illinois, Indiana, Michigan, New Jersey, New York,

  Oregon, Pennsylvania and Washington, with interest and attorneys’ fees, as provided by law.

                                FOURTH CLAIM FOR RELIEF

        (Delay in Payments; Penalties -- State Law Waiting Time/Penalties Sub-Class)

         89.     Plaintiffs Jeffrey Bouder, Jim Wang, John Costa, Christine Musthaler, Steven

  Song, David Uchansky, Alan Scott Rudo, Ryan Holmes, Timothy Munson, Peter Shaw,

  Christopher Briggs, Joseph Gawron, Sandra King, Julie Sullivan, Michele Otten, Julia Stalla,

  Michael Todd Hinchliffe and Jason Persinger (the “State Law Waiting Time/Penalties

  Plaintiffs”) repeat and reallege by reference the allegations set forth above, as though set forth

  herein in full, and allege the following claim for relief under applicable Labor Laws of

  California, Hawaii, Illinois, Indiana, Michigan, Missouri, Montana, Nevada, Ohio, Oregon and

  Pennsylvania on behalf of themselves and on behalf of the State Law Waiting Time/Penalties

  Sub-Class.

         90.     The laws of the States and jurisdictions of California, Hawaii, Illinois, Indiana,

  Michigan, Missouri, Montana, Nevada, Oregon and Pennsylvania provide that when an

  employee, such as one of the State Law Waiting Time/Penalties Plaintiffs or other member of

  the State Law Waiting Time/Penalties Sub-Class, is discharged or terminates employment for

  any reason, and in some states, under other circumstances, the employer must pay the employee

  all wages due by certain deadlines or waiting time or other penalties are imposed.

                            California Waiting Time/Penalties Claims

         91.     California Labor Code Section 201(a) states that if an employer discharges an

  employee, the wages earned and unpaid at the time of discharge are due and payable

  immediately. California Labor Code § 202(a) provides that when an employee not having a




                                                 43
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 44 of 58 PageID: 1915



  written contract for a definite period quits his or her employment, his or her wages shall become

  due and payable not later than 72 hours thereafter, unless the employee has given 72 hours

  previous notice of his or her intention to quit, in which case the employee is entitled to his or her

  wages at the time of quitting. Under Section 203, if an employer willfully fails to pay, without

  abatement or reduction, any wages of an employee who is discharged or who quits, the wages of

  the employee shall continue as a penalty from the due date thereof at the same rate until paid or

  until an action is commenced; but the wages shall not continue for more than 30 days. Further,

  California Labor Code § 204 provides that all wages earned for labor in excess of the normal

  work period shall be paid no later than the payday for the next regular payroll period and

  requires all wages other than salaries to be paid not less than twice a month. Plaintiffs Jim

  Wang, John Costa, Christine Musthaler, Steven Song and David Uchansky, and the other

  members of the State Law Waiting Time/Penalties Sub-Class employed in Covered Positions in

  California were not paid all the wages to which they were entitled at the time said wages were

  due and are therefore entitled to waiting time penalty payments as provided by law.

                               Hawaii Waiting Time/Penalties Claims

         92.     Hawaii Revised Statutes (“HRS”) Section 388-3(a) provides that an employer

  must pay a discharged employee’s wages in full at the time of discharge or if the discharge

  occurs at a time and under conditions which prevent an employer from making immediate

  payment, not later than the working day following discharge. Section 388-10 allows for civil

  penalties equal to the amount of unpaid wages and interest at a rate of 6% per year from the date

  that the wages were due. Plaintiff Alan Scott Rudo, and the other members of the State Law

  Waiting Time/Penalties Sub-Class employed in Covered Positions in Hawaii were not paid all




                                                   44
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 45 of 58 PageID: 1916



  the wages to which they were entitled at the time said wages were due and are therefore entitled

  to waiting time penalty payments as provided by law.

                              Illinois Waiting Time/Penalties Claims

         93.     In Illinois, 820 ILCS 115/5 provides that every employer shall pay the final

  compensation of separated employee in full, at the time of separation, if possible, but in no case

  later than the next regularly scheduled payday for such employee. Further, 820 ILCS 105/12(a)

  provides that any employee who is paid by his employer less than the wage to which he is

  entitled may recover in a civil action the amount of any such underpayments, together with costs

  and such reasonable attorney’s fees as allowed by the Court, and damages of 2% of the amount

  of any such underpayments for each month following the date of payment during which such

  underpayments remain unpaid. Additionally, 820 ILCS 120/2 provides that all commissions due

  at the time of termination of a contract between a sales representative and principal shall be paid

  within 13 days of termination, and commissions that become due after termination shall be paid

  within 13 days of the date on which such commissions become due. Under 820 ILCS 120/3, the

  employer shall be liable in a civil action for exemplary damages in an amount which does not

  exceed 3 times the amount of the commissions owed to the sales representative. Plaintiffs Ryan

  Holmes and Timothy Munson, and the other members of the State Law Waiting Time/Penalties

  Sub-Class employed in Covered Positions in Illinois were not paid all the wages to which they

  were entitled at the time said wages were due and are therefore entitled to waiting time penalty

  payments as provided by law.

                              Indiana Waiting Time/Penalties Claims

         94.     Ind. Code Ann. Section 22-2-9-2(a) provides that whenever any employer

  separates any employee from the payroll, the unpaid wages or compensation of such employee




                                                  45
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 46 of 58 PageID: 1917



  shall become due and payable at the regular pay day for the pay period in which the separation

  occurred. Further, Ind. Code Ann. Section 22-2-4-4 provides that every employer who fails for

  10 days after demand of payment has been made to pay employees for their labor, shall be liable

  to such employee for the full value of his labor, to which shall be added a penalty of $1 for each

  succeeding day, not exceeding double the amount of wages due. Plaintiff Peter Shaw, and the

  other members of the State Law Waiting Time/Penalties Sub-Class employed in Covered

  Positions in Indiana were not paid all the wages to which they were entitled at the time said

  wages were due and are therefore entitled to waiting time penalty payments as provided by law.

                             Michigan Waiting Time/Penalties Claims

         95.     Section 408.475 of the Michigan Compiled Laws (“MCL”) provides that an

  employer shall pay to an employee voluntarily leaving employment or who has been discharged

  from employment all wages earned and due, as soon as the amount can with due diligence be

  determined. Under MCL Section 408.888, an employer who violates the preceding section shall

  be required to pay a penalty at the rate of 10% annually on the wages and fringe benefits due

  beginning at the time the employer is notified that a complaint has been filed and ending when

  payment is made. Plaintiffs Christopher Briggs and Joseph Gawron, and the other members of

  the State Law Waiting Time/Penalties Sub-Class employed in Covered Positions in Michigan

  were not paid all the wages to which they were entitled at the time said wages were due and are

  therefore entitled to waiting time penalty payments as provided by law.

                             Missouri Waiting Time/Penalties Claims

         96.     Section 290.527 of the Mo. Rev. Stat. provides that any employer who pays any

  employee less wages than the wages to which the employee is entitled shall be liable to such

  employee for the full amount of the wage rate and an additional equal amount as liquidated




                                                 46
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 47 of 58 PageID: 1918



  damages, less any amount actually paid to the employee by the employer, plus costs and such

  reasonable attorney fees as may be allowed by a court or jury and any agreement between the

  employee and the employer to work for less than the wage rate shall be no defense to an action

  to recover such sums. Plaintiff Sandra King and the other members of the State Law Waiting

  Time/Penalties Sub-Class employed in Covered Positions in Missouri were not paid all the

  wages to which they were entitled and, pursuant to Mo. Rev. Stat. § 290.527, are therefore

  entitled to liquidated “double” damages, costs and reasonable attorneys fees as provided by law.

                            Montana Waiting Time/Penalties Claims

         97.    Section 39-3-205(1) of the Montana Code Annotated (“MCA”) provides that

  when an employee separates from the employ of any employer, all the unpaid wages of the

  employee are due and payable on the next regular payday for the pay period during which the

  employee was separated from employment or 15 days from the date of separation from

  employment, whichever occurs first. MCA Section 39-3-206 provides for penalties against the

  employer in an amount not to exceed 110% of the wages due and unpaid. Plaintiff Julie

  Sullivan, and the other members of the State Law Waiting Time/Penalties Sub-Class employed

  in Covered Positions in Montana were not paid all the wages to which they were entitled at the

  time said wages were due and are therefore entitled to waiting time penalty payments as

  provided by law.

                             Nevada Waiting Time/Penalties Claims

         98.    In Nevada, NRS 608.030 provides that whenever an employee resigns or quits his

  employment, the wages and compensation earned and unpaid at the time of his resignation or

  quitting must be paid no later than the day on which the employee would have regularly been

  paid the wages or compensation or seven days after the employee resigns or quits, whichever is




                                                 47
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 48 of 58 PageID: 1919



  earlier. NRS 608.020 provides that whenever an employer discharges an employee, the wages

  and compensation earned and unpaid at the time of such discharge shall become due and payable

  immediately. Further, NRS 608.040 provides that if an employer fails to pay the wages or

  compensation of an employee who resigns or quits on the day the wages or compensation

  becomes due or fails to pay the wages or compensation of a discharged employee within 3 days

  after the wages or compensation of such discharged employee becomes due, the wages or

  compensation of the employee continues at the same rate from the day he resigned, quit or was

  discharged until paid or for 30 days, whichever is less. Plaintiff Michele otten, and the other

  members of the State Law Waiting Time/Penalties Sub-Class employed in Covered Positions in

  Nevada were not paid all the wages to which they were entitled at the time said wages were due

  and are therefore entitled to waiting time penalty payments as provided by law.

                               Ohio Waiting Time/Penalties Claims

         99.     Section 4113.15(A) of the Ohio Revised Code (“ORC”) provides that every

  employer shall, on or before the first day of each month, pay its employees the wages earned by

  them during the first half of the preceding month ending with the fifteenth day thereof, and shall,

  on or before the fifteenth day of each month, pay such employees the wages earned by them

  during the last half of the preceding calendar month. ORC Section 4113.15(B) provides that if

  wages remain unpaid for thirty days beyond the regularly scheduled payday or, in the case where

  no regularly scheduled payday is applicable, for sixty days beyond the filing by the employee of

  a claim or for sixty days beyond the date of the act making wages payable and no contest, court

  order or dispute of any wage claim exists accounting for nonpayment, the employer is liable to

  the employee in an amount equal to 6% of the amount of the claim still unpaid and not in contest

  or disputed or $200, whichever is greater. Plaintiff Julia Stalla, and the other members of the




                                                  48
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 49 of 58 PageID: 1920



  State Law Waiting Time/Penalties Sub-Class employed in Covered Positions in Ohio were not

  paid all the wages to which they were entitled at the time said wages were due and are therefore

  entitled to waiting time penalty payments as provided by law.

                              Oregon Waiting Time/Penalties Claims

         100.     Section 652.140(1) of the Oregon Revised Statutes provides that when an

  employer discharges an employee or when employment is terminated by mutual agreement, all

  wages earned and unpaid at the time of the discharge or termination become due and payable not

  later than the end of the first business day after the discharge or termination. Section 652.140(2)

  provides that when an employee who does not have a contract for a definite period quits

  employment, all wages earned and unpaid become due and payable immediately if the employee

  has given to the employer not less than 48 hours’ notice, excluding Saturdays, Sundays and

  holidays.     Under Section 652.150, if an employer willfully fails to pay any wages or

  compensation of any employee whose employment ceases, then, as a penalty for the

  nonpayment, the wages or compensation of the employee shall continue from the due date

  thereof at the same hourly rate for eight hours per day until paid or until action therefore is

  commenced. In no case shall the penalty wages or compensation continue for more than 30

  days. Plaintiffs Michael Todd Hinchliffe and Jason Persinger, and the other members of the

  State Law Waiting Time/Penalties Sub-Class employed in Covered Positions in Oregon were not

  paid all the wages to which they were entitled at the time said wages were due and are therefore

  entitled to waiting time penalty payments as provided by law.

                           Pennsylvania Waiting Time/Penalties Claims

         101.     The Pennsylvania Wage Payment and Collection Law, WPCL, 43 P.S. Section

  260.5 provides that whenever an employee is discharged or terminates employment for any




                                                  49
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 50 of 58 PageID: 1921



  reason, the employer must pay the employee all wages due not later than the next regular payday

  on which such wages should otherwise be due and payable. Furthermore, pursuant to WPCL, 43

  P.S. Section 260.10, such employees are entitled to liquidated damages of 25% of the total

  amount of wages due, or $500, whichever is greater, plus interest and attorneys’ fees. Plaintiff

  Jeffrey Bouder, and the other members of the State Law Waiting Time/Penalties Sub-Class

  employed in Covered Positions in Pennsylvania were not paid all the wages to which they were

  entitled at the time said wages were due and are therefore entitled to waiting time penalty

  payments as provided by law.

         102.   State Law Waiting Time/Penalties Plaintiffs Jeffrey Bouder, Jim Wang, John

  Costa, Christine Musthaler, Steven Song, David Uchansky, Alan Scott Rudo, Ryan Holmes,

  Timothy Munson, Peter Shaw, Christopher Briggs, Julie Sullivan, Michael Todd Hinchliffe and

  Jason Persinger, and many other members of the State Law Waiting Time/Penalties Sub-Class,

  have terminated their employment with Defendants, but Defendants have not tendered payment

  and/or restitution of wages owed to them as required by the laws of the States and jurisdictions

  of California, Hawaii, Illinois, Indiana, Michigan, Montana, Ohio, Oregon and Pennsylvania,

  and have thereby caused such Plaintiffs and Sub-Class members to suffer damages and are

  entitled to recover unpaid wages and commissions and penalties and/or liquidated damages

  according to the laws of the jurisdictions in which they were employed.

         103.   Further, Defendants failed to pay wages and commissions when due during the

  time that Plaintiffs Jeffrey Bouder, Jim Wang, John Costa, Christine Musthaler, Steven Song,

  David Uchansky, Alan Scott Rudo, Ryan Holmes, Timothy Munson, Peter Shaw, Christopher

  Briggs, Joseph Gawron, Sandra King, Julie Sullivan, Michele Otten, Julia Stalla, Michael Todd

  Hinchliffe and Jason Persinger and the other members of the State Law Waiting Time/Penalties




                                                 50
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 51 of 58 PageID: 1922



  Sub-Class were employed by Defendants and systematically underpaid its employees by holding

  back a significant portion of commissions for its own purposes to pay others, and then either

  paying the wages later than the time required by the laws of the States and jurisdictions of

  California, Hawaii, Illinois, Indiana, Michigan, Missouri, Montana, Nevada, Ohio, Oregon and

  Pennsylvania, or simply not paying them at all. Thus, Defendants did not pay the State Law

  Waiting Time/Penalties Plaintiffs and the other members of the State Law Waiting

  Time/Penalties Sub-Class all wages due as required by required by the laws of those States and

  jurisdictions.

          104.     Therefore, the State Law Waiting Time/Penalties Plaintiffs demand, on behalf of

  themselves and the other members of the State Law Waiting Time/Penalties Sub-Class,

  appropriate penalties, liquidated damages, costs, attorneys’ and interest, if applicable, under the

  laws of California, Hawaii, Illinois, Indiana, Michigan, Missouri, Montana, Nevada, Ohio,

  Oregon and Pennsylvania, for Defendants’ failure to timely pay wages during the State Law

  Class Periods.

                                   FIFTH CLAIM FOR RELIEF

                    (Failure to Provide Rest and Meal Periods and Violation of

                     Unfair Competition Law (Cal. Bus. & Prof. Code §17200)-

                    State Law Rest/Meal Periods/Unfair Competition Sub-Class)

          105.     Plaintiffs Jim Wang, John Costa, Christine Musthaler, Steven Song and David

  Uchansky (the “State Law Rest/Meal Period/Unfair Competition Plaintiffs”) repeat and reallege

  by reference the allegations set forth above, as though set forth herein in full, and allege the

  following claim for relief under the Labor Laws and the Unfair Competition Law of California




                                                  51
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 52 of 58 PageID: 1923



  on behalf of themselves and on behalf of the State Law Rest/Meal Period/Unfair Competition

  Sub-Class.

         106.      Defendants failed to provide rest and/or meal periods without any work or duties

  to the State Law Rest/Meal Period/Unfair Competition Plaintiffs or to the other the members of

  the State Law Rest/Meal Periods/Unfair Competition Sub-Class who worked more than 3 and

  one half hours per day. By failing to do so, Defendants violated the provisions of California

  Labor Code 226.7 and Section 12 of Wage Order 4-2001 of the California Industrial Wage

  Commission (8 CCR 11040(12)).             Therefore, the State Law Rest/Meal Period/Unfair

  Competition Plaintiffs, on behalf of themselves, and all of the other members of the State Law

  Rest/Meal Periods/Unfair Competition Sub-Class, are entitled to and seek one additional hour of

  pay at the employee's regular rate of compensation for each work day that the meal or rest period

  was not provided.

         107.      The State Law Rest/Meal Periods/Unfair Competition Plaintiffs further allege

  that, under Cal. Bus. & Prof. Code § 17204, they are persons who have suffered injury in fact

  and have lost money or property as a result of Defendants’ acts and therefore may bring this

  action on behalf of themselves and on behalf of all members of the State Law Rest/Meal

  Periods/Unfair Competition Sub-Class, for Defendants’ violations of Cal. Bus. & Prof. Code §§

  17200, et seq.

         108.      Cal. Bus. & Prof. Code § 17200 provides:

                   As used in this chapter, unfair competition shall mean and include any

                   unlawful or fraudulent business act or practice and unfair, deceptive,

                   untrue or misleading advertising and any act prohibited by Chapter 1




                                                  52
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 53 of 58 PageID: 1924



                 (commencing with Section 17500) of Part 3 of Division 7 of the Business

                 and Professions Code.

         109.    Cal. Bus. & Prof. Code § 17204 provides that an action for violation of

  California’s Unfair Competition Law may be brought by persons who have suffered injury in

  fact and have lost money or property as a result of such unfair competition.

         110.    The unlawful conduct of Defendants alleged in the First, Second, Third and

  Fourth Claims for Relief above, and in the above paragraphs of this Fifth Claim for Relief, are

  acts of unfair competition under Business & Professions Code §§ 17200, et seq., for which

  Defendants are liable for damages and for which this Court should issue equitable and

  injunctive relief, pursuant to Cal. Bus. & Prof. Code § 17203.

         111.    Unless enjoined, Defendants, and each of them, will continue to fail to pay

  wages to members of the State Law Rest/Meal Periods/Unfair Competition Sub-Class, as

  required by law.

         112.    Therefore, the State Law Rest/Meal Periods/Unfair Competition Plaintiffs

  demand, on behalf of themselves and the other members of the State Law Rest/Meal

  Periods/Unfair Competition Sub-Class, that Defendants provide compensation of one additional

  hour of pay at the employee's regular rate of compensation for each work day that a meal or rest

  period was not provided, with interest and attorneys’ fees, as provided by law; that Defendants

  make full restitution of wages wrongfully withheld and for labor taken without proper

  compensation to all employees in Covered Positions in the State of California; that pursuant to

  Cal. Bus. & Prof. Code §§ 17200, et seq., the Court enjoin Defendants, and each of them, from

  engaging in these, or similar, unlawful business practices; and that Defendants be ordered to

  search their records to identify all commissions and wages wrongfully retained or withheld from




                                                  53
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 54 of 58 PageID: 1925



  or charged to such employees as well as all unpaid commissions they have assessed against such

  employees, which Defendants shall be ordered to hold in an equitable, constructive and/or

  resulting trust for the benefit of employees to whom restitution is owed and unpaid, to be paid to

  each such individuals that the Defendants can locate, with the remainder to be deposited with

  the California Labor Commissioner as Trustee for the Industrial Relations Unpaid Wage Fund

  of the State of California, pursuant to California. Labor Code §§ 96.6 and 96.7, with the name,

  last known address and social security number of each remaining unpaid class member, or, if

  the Labor Commissioner will not accept these funds, then to the National Employment Lawyers

  Association (a not for profit organization located in San Francisco, CA, dedicated to promoting

  the employment rights of workers), in the manner provided by Cal. Bus. & Prof. Code § 384.

                                  SIXTH CLAIM FOR RELIEF

                                        (General Assumpsit)

         113.    Plaintiff Jeffrey Bouder repeats and realleges by reference the allegations set

  forth above, as though set forth herein in full and alleges the following claim for relief under the

  Labor Laws of Pennsylvania on behalf of himself and on behalf of the other members of the

  State Law Class employed in Covered Positions in Pennsylvania.

         114.    Plaintiff Jeffrey Bouder and the other members of the State Law Class employed

  in Covered Positions in Pennsylvania performed services, work and labor for Prudential for

  which Prudential agreed to pay in accordance with federal and Pennsylvania law.

         115.    Prudential failed to pay Plaintiff Jeffrey Bouder and the other members of the

  State Law Class employed in Covered Positions in Pennsylvania in accordance with federal and

  Pennsylvania law for the services, work and labor performed by them for Prudential.




                                                   54
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 55 of 58 PageID: 1926



         116.    Instead, Prudential has retained and appropriated for itself the payments due and

  owing to Plaintiff Jeffrey Bouder and the other members of the State Law Class employed in

  Covered Positions in Pennsylvania resulting from overtime hours worked and expenditures

  charged to and incurred by Plaintiff Jeffrey Bouder and the other members of the State Law

  Class employed in Covered Positions in Pennsylvania in direct consequence of the discharge of

  their duties, or of their obedience to the directions of the employer, contrary to federal and

  Pennsylvania law.

         117.    Prudential and Defendants are indebted to Plaintiff Jeffrey Bouder and the other

  members of the State Law Class employed in Covered Positions in Pennsylvania for the

  services, work and labor performed by Plaintiff Jeffrey Bouder and the other members of the

  State Law Class employed in Covered Positions in Pennsylvania and for money had and

  received by Prudential for the use and benefit of Plaintiff Jeffrey Bouder and the other members

  of the State Law Class employed in Covered Positions in Pennsylvania during the Pennsylvania

  State Law Class Period until the date of entry of judgment plus interest and attorneys fees in

  amounts not presently known with specificity. Plaintiffs pray for leave to amend this Complaint

  to allege said amounts when the same are ascertained.

         WHEREFORE, in accordance with all of the above claims in the First through Sixth

  Claims for Relief, inclusive, Plaintiffs demand judgment in their favor and in favor of the other

  members of the Federal Collective Group and the State Law Class, including the State Law Sub-

  Classes, and against Defendants, individually, jointly and severally, for:

         A.      A Declaration that Defendants have violated the FLSA, State Labor Laws and

  other applicable employment laws;




                                                  55
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 56 of 58 PageID: 1927



          B.      An Order certifying the Federal Collective Group and designating this action as a

  collective action pursuant to the FLSA;

          C.      An Order certifying the State Law Class and the State Law Sub-Classes and

  designating this action as a class action pursuant to Fed. R. Civ. P. 23;

          D.      An Order appointing Plaintiffs and their counsel to represent the Federal

  Collective Group, the State Law Class and the State Law Sub-Classes, as defined in this

  Complaint;

          E.      Compensatory damages, including restitution for both regular and overtime

  compensation due Plaintiffs and the other members of the Federal Collective Group and the

  State Law Class during the applicable Federal Eligibility Period and the State Law Class

  Periods, plus interest thereon at the statutory rate;

          F.      Restitution and reimbursement to Plaintiffs and the other members of the State

  Law Charge Back Sub-Class of all employee expenses not reimbursed by Defendants during the

  relevant State Law Class Periods, including, without limitation: expenses incurred to pay

  assistants and other employees of Defendants, all commissions charged back to Plaintiffs and the

  other members of the State Charge Back Sub-Law Class and/or all other monies either

  unlawfully deducted from wages or required to be paid back directly by Defendants;

          G.      An order temporarily, preliminarily and permanently enjoining and restraining

  Defendants from engaging in similar unlawful conduct as set forth herein;

          H.      An order requiring Defendants to provide an accounting of all wages and all sums

  unlawfully charged back and withheld from compensation due to Plaintiffs and the other

  members of the Federal Collective Group and State Law Class, including the State Law Sub-

  Classes;




                                                    56
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 57 of 58 PageID: 1928



            I.     Imposition of a constructive trust upon the assets of the Defendants to the extent

  of the sums due to Plaintiffs and the other members of the Federal Collective Group and State

  Law Class, including the State Law Sub-Classes;

            J.     Declaratory relief including declarations setting forth the rights of Plaintiffs and

  the members of the Federal Collective Group and the State Law Class, including the State Law

  Sub-Classes, as alleged in this Complaint and setting forth the Defendants’ violations of those

  rights;

            K.     Appropriate penalties, as may be applicable, under the laws of the States and

  jurisdictions of the United States, except for the State of New York (see prayer for relief

  paragraph N, infra), for Defendants’ failure to timely pay wages during the State Law Class

  Periods;

            L.     Prejudgment Interest;

            M.     Reasonable attorneys’ fees, litigation expenses and costs of suit; and

            N.     Such other and further relief as the Court deems just and equitable; however, no

  penalties (statutory or otherwise), liquidated damages or punitive damages of any kind under

  New York law are sought in this action and are expressly waived.

                                           Jury Trial Demanded

            Plaintiffs demand a trial by jury for all matters so triable.

                                                      LAW OFFICES OF JAMES V. BASHIAN, P.C

                                                      By:   s/James V. Bashian
                                                            James V. Bashian
                                                      70 Adams Street, 4th Floor
                                                      Hoboken, NJ 07030
  Dated: March 16, 2009
                                                      Tel: (973) 227-6330
                                                      Fax: (973) 488-3330

                                                      LOVELL STEWART HALEBIAN LLP
                                                      John Halebian
                                                      Midtown Office

                                                    57
Case 2:06-cv-04359-CCC-MF Document 110 Filed 03/16/09 Page 58 of 58 PageID: 1929



                                        317 Madison Avenue, 21st Floor
                                        New York, NY 10017
                                        Tel: (212) 500-5010
                                        Fax: (212) 208-6806
                                        Attorneys for Plaintiffs


  Additional Plaintiffs’ Counsel:

  JERRY K. CIMMET                       JOHN M. KELSON
  cimmet@att.net                        kelsonlaw@sbcglobal.net
  Attorney at Law                       LAW OFFICES OF JOHN M. KELSON
  177 Bovet Road, Suite 600             1999 Harrison Street, Suite 700
  San Mateo, CA 94402                   Oakland, CA 94612
  Tel: (650) 866-4700                   Tel: (510) 465-1326
  Fax: (650) 866-4770                   Fax: (510) 465-0871

  BARROWAY TOPAZ KESSLER MELTZER        WINNE, BANTA, HETHERINGTON,
  & CHECK, LLP                          BASRALIAN & KAHN, P.C.
  Gerald D. Wells, III                  Kenneth K. Lehn
  gwells@btkmc.com                      klehn@winnebanta.com
  280 King of Prussia Road              Edward P. D’Alessio
  Radnor, PA 19087                      edalessio@winnebanta.com
  Tel: (610) 667-7706                   Court Plaza South
  Fax: (610) 667-7056                   21 Main Street
                                        P.O. Box 647
                                        Hackensack, NJ 07601
                                        Tel: (201) 487-3800
                                        Fax: (201) 487-8529




                                       58
